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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

FRED GATES,                               )
                                          )
                     Plaintiff,           )      No. 1:15-cv-1394
                                          )
     v.                                   )      Judge Robert M. Dow, Jr.
                                          )
BOARD OF EDUCATION OF THE                 )      Magistrate Judge Martin
CITY OF CHICAGO,                          )
                                          )
                     Defendant.           )

 DEFENDANT’S UNOPPOSED MOTION TO WITHDRAW APPEARANCE FOR
ATTORNEY CHRISTY AND SUBSTITUTE ATTORNEY CIASTKO AS LEAD AND
                       TRIAL COUNSEL

       Defendant moves this Court to withdraw the appearance of Assistant General

Counsel Katherine A. Christy and substitute in her place Assistant General Counsel

Paul Ciastko as both lead counsel and trial attorney in this case, and states:

           1.        Ms. Christy filed an appearance and is designated to receive notices

and court orders in this action. She is designated as lead counsel and the trial attorney

for Defendant.

           2.        Ms. Christy recently resigned her position at the Board for another

opportunity.

           3.        The representation of Defendant has been reassigned to Mr.

Ciastko.

           4.        Therefore, Defendant requests withdrawal of Ms. Christy’s

appearance and the substitution of Mr. Ciastko’s as lead counsel and trial attorney.
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          5.        On August 10, 2016, undersigned counsel conferred with Plaintiff’s

counsel who indicated Plaintiff does not oppose this motion

                                    CONCLUSION

      Defendant respectfully requests that the Court grant its motion to withdraw the

appearance of Ms. Christy, order that Mr. Ciastko may be substituted as lead counsel

and trial attorney, and grant all other relief to which Defendant may be entitled.



                                         Respectfully submitted,
                                         RONALRD L. MARMER
                                         General Counsel

                                  By:    s/Paul Ciastko
                                         Paul Ciastko
                                         Assistant General Counsel
                                         Board of Education of the City of Chicago
                                         Law Department
                                         1 N. Dearborn, Ste. 900
                                         Chicago, IL 60602
                                         (773) 553-1654


                               CERTIFICATE OF SERVICE
       I certify that I caused the foregoing Motion to be sent to all attorneys of record
via the Court’s electronic notification system on August 10, 2016.

                                         s/Paul Ciastko
                                         Paul Ciastko




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